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 7   Counsel for Save Casa Bonita, LLC

 8                         IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF ARIZONA
 9
      In re:                                             Chapter 11 Proceedings
10
      SUMMIT FAMILY RESTAURANTS, INC.,                   Case No. 2:21-bk-02477-BKM
11
                                    Debtor.              NOTICE OF APPEARANCE AND
12                                                       REQUEST FOR SPECIAL NOTICE
13

14             PLEASE TAKE NOTICE that D. Lamar Hawkins of the firm of Guidant Law PLC, as
15   counsel for Save Casa Bonita, LLC, hereby enters appearance on the record in the above entitled
16   bankruptcy case pursuant to Fed.R.Bankr.P. 9010(b) and formally requests special notice of all
17   hearings, actions, contested matters and adversary proceedings in this case, together with copies of
18   all notice, pleadings, motions, response and other related materials that are issued or filed in
19   connection with this case and proceedings related thereto. Pursuant to Fed.R.Bankr.P. 2002, all
20   notice and copies in response to the foregoing, should be directed to:
21
                                             D. Lamar Hawkins
22                                            Guidant Law Firm
                                           402 E. Southern Avenue
23                                            Tempe, AZ 85282
24                                           lamar@guidant.law

25             DATED this 10th day of May, 2021.

26                                                    GUIDANT LAW, PLC

27                                               By: /s/D. Lamar Hawkins,#013251
                                                     D. Lamar Hawkins
28                                                   Alexander Karam
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                                                  1
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     COPY of the foregoing mailed, or served
 2   via electronic notification* or fax** if so marked,
     this 10th day of May, 2021, to:
 3
     Patty Chan* patty.chan@usdoj.gov
 4   OFFICE OF THE UNITED STATES TRUSTEE
     230 N. First Ave., Ste. 204
 5   Phoenix, AZ 85003-1706
 6   Sierra M Minder* sierra.minder@sackstierney.com
     Wesley Denton Ray* Ray@SacksTierney.com
 7   Philip R. Rudd* Rudd@SacksTierney.com
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20   BY: /s/ Heidi Scheving
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